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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

MARC IRWIN SHARFMAN, M.D., P.A.,

               Plaintiff,

v.                                                      Case No. 6:20-cv-1278-WWB-LHP

PREMIER MEDICAL, INC.,

               Defendant.


                                          ORDER

       The Court has been advised by the Final Mediation Report that the above-styled

action has been completely settled. (Doc. 61 at 1).

       Accordingly, pursuant to Local Rule 3.09(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice

subject to the right of any party, within sixty days from the date of this Order, to move the

Court to enter a stipulated form of final order or judgment, or, on good cause shown, to

reopen the case for further proceedings. All pending motions are DENIED as moot. The

Clerk is directed to close this file.

       DONE AND ORDERED at Orlando, Florida on February 28, 2022.




Copies to:
Counsel of Record
